 1                                                                                   The Honorable Brian D. Lynch
 2                                                                                  Hearing Date: January 29, 2020
 3                                                                                         Hearing Time: 9:00 A.M.
 4
                                                              Hearing Location: Union Station, Tacoma, Courtroom I
 5
 6
                                                                                   Response Date: January 22, 2020
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10
11                                   UNITED STATES BANKRUPTCY COURT
12                                   WESTERN DISTRICT OF WASHINGTON
13
14       In re                                                         Case No. 18-41324-BDL
15
16
17       PUGLIA ENGINEERING, INC.,
18                                                                      FIRST AND FINAL APPLICATION OF
19       Debtor.                                                        THE TRACY LAW GROUP PLLC FOR
20                                                                      COMPENSATION OF ATTORNEYS’
21                                                                      FEES AND REIMBURSEMENT OF
22                                                                      COSTS
23
24
25               Pursuant to 11 U.S.C. §330 and Local Bankruptcy Rule 2016-1, The Tracy Law Group
26
27       PLLC (“TTLG”) hereby applies for compensation for services rendered and costs related thereto
28
29       for the period of April 18, 2018, the day subsequent to the date that TTLG’s employment was
30
31       approved, through March 28, 2019, the date that the above-captioned case was converted to
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33
34       Chapter 7 (the “Application”). As set forth in this Application and in the billing invoices submitted
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36       concurrently herewith, for this time period, TTLG applies for compensation of fees in the amount
37
38       of $52,803.50, and reimbursement of costs and expenses in the amount of $1,411.90, for a total
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40       amount of $54,215.40. 1 Of these amounts, TTLG has already received payment of $31,026.80 in
41
42
43       fees and reimbursement of $1,250.91 in costs pursuant to this Court’s Order Approving
44
45
46        1
           TTLG was permitted to reimbursement of the $1,717 filing fee that it advanced on behalf of San
47        Francisco Ship Repair, Inc. from funds that it was holding in its trust account paid by a third-party, Puglia
          Engineering of California, Inc.Dkt. # 242. As the payment of these costs was already approved they are not
          set forth in the present Application.
          FINAL APPLICATION OF THE TRACY LAW GROUP
          PLLC FOR COMPENSATION OF ATTORNEYS’ FEES                                   1601 Fifth Ave, Suite 610
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 1       Interim Payment Procedures (“Interim Payment Procedures Order”) (Dkt. No. 345), leaving a
 2
 3       balance of $21,776.67 in fees and $160.99 in costs remaining to be paid once approved.
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 5
 6               Attached hereto as Exhibit A is a detailed time listing sorted by task code covering the
 7
 8       time period addressed in this Application. Additionally, attached hereto as Exhibit B is a copy of
 9
10       an accounting ledger showing the costs and expenses TTLG incurred during this time period
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12       which also shows the disbursements TTLG previously received pursuant to the Interim Payment
13
14
15       Procedures Order.
16
17               In further support of this Application, TTLG respectfully represents as follows:
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19                                 I.      PERTINENT BACKGROUND FACTS
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21                Prior to being converted, this case was formerly a Chapter 11 case that was jointly
22
23
24        administered with the case of Puglia’s wholly owned subsidiary, San Francisco Ship Repair, Inc.
25
26        (“SFSR”), Case No. 18-41350-BDL. See Order Directing Joint Administration of Chapter 11 Cases
27
28        Pursuant to FRBP 1015(b), Dkt. #62.
29
30                SFSR filed a voluntary chapter 11 bankruptcy petition on April 17, 2018 (the
31
32
33        “Petition Date”). TTLG represented SFSR in its chapter 11 case. SFSR is not operating and
34
35        was not in operation at any time during its chapter 11 bankruptcy case. SFSR’s chapter 11
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37        filing was mandated by that certain Settlement Agreement by and between the Puglia Parties
38
39        and the BAE Parties (as those respective parties are defined in the Settlement Agreement)
40
41
42        (the “Settlement Agreement”). See Order Granting Motions for Order Approving Compromise and
43
44        Settlement Pursuant to Bankruptcy Rule 9019, Dkt. #239.
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46                At a hearing on several different motions held on July 19, 2018, it was established
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          that TTLG was considered to be a professional who should be paid by Puglia due to the

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 1        terms of the aforementioned Settlement Agreement and the joint administration of the two
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 3        cases. It was also established that TTLG was to be paid by Puglia on an interim basis
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 5
 6        pursuant to the aforementioned Interim Payment Procedures Order, subject in part to the
 7
 8        budget that SFSR’s counsel submitted (Dkt. #297). The rationale behind these
 9
10        determinations was that since the Settlement Agreement required SFSR to file and prosecute
11
12        its own Chapter 11 bankruptcy case, and SFSR had no funds to do so on its own, efforts
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14
15        expelled on behalf of SFSR were necessary for Puglia as well. See Docket #323, Audio
16
17        Recording of 7/19/18 Hearing at approximately 44:37-47:04, 52:57-54:17, 59:16 – 59:43.
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19                                                 II.    APPLICATION
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21               1.         Order Authorizing Employment. TTLG’s employment as SFSR’s Chapter 11
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23
24       counsel was approved by this Court effective April 17, 2018. See Docket # 242.
25
26               2.         Statement Regarding Prior Fee Applications. TTLG has not filed any
27
28       previous fee applications. As noted above, TTLG has already been paid $32,277.71 pursuant to the
29
30       Interim Payment Procedures Order. This Application seeks final approval of those payments and
31
32
33       approval of payment of the remaining of TTLG’s remaining $21,937.66 in fees and costs.
34
35               3.         Other Professionals Employed. In addition to TTLG, the Court authorized
36
37       the employment of the following professionals in the jointly administered chapter 11 cases:
38
39              Professional             Representing            Role             Approval Date         Docket No.
40        Bush Kornfield LLP         Puglia              Bankruptcy Counsel     5/15/18                149
41        CKR LLP                    UCC                 Lead Counsel           8/2/18                 344
42        Commenda Asset             Puglia              Investment Banker      2/15/19                524
43        Resolution Partners, LLC
44        DBS Law                    Committee           Local Counsel          5/31/18                219
45        Larson Gross PLLC          Puglia and SFSR     Accountants            7/16/18 and            312
46                                                                              11/6/18 respectively
47        McKool Smith               UCC                 Litigation Counsel     7/26/18                333
          Orse and Co.               Puglia              Financial Advisor      7/20/18                324
          Seyfarth Shaw              SFSR                Special Counsel        2/14/19                522
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 1        Thomas Barnett &        Puglia              Special Counsel for     8/17/18            355
 2        McDonald PC                                 ERISA matters
 3
 4
 5               4.          Source of Payment and History of Funds in Trust Account. TTLG is
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 7
 8
         holding $0 in its trust account. The only funds that TTLG held in trust in this matter was the
 9
10       aforementioned $1,717 filing fee that TTLG advanced on behalf of SFSR, which was repaid by a
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12       third-party, Puglia Engineering of California, Inc., and which was briefly held in trust prior to
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14       TTLG reimbursing itself.
15
16
17
                 Per the Chapter 7 Trustee Counsel’s Response to CKR Law LLP, DBS Law, Bush
18
19       Kornfield LLP, Orse & Company, Devitt D. Barnett, and Larson Gross PLLC’s First and Final
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21       Applications for Compensation, TTLG understands that the Chapter 7 Trustee and its counsel
22
23       successfully mediated a resolution of the estate’s claims against the former directors and officers of
24
25
26
         Puglia in the approximate amount of $855,000. Dkt. #817. TTLG expects to be paid from these
27
28       funds or from otherwise unencumbered funds of the estate to the extent they are available.
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30                5.         Narrative Summary of Professional Services Provided, Results Obtained,
31
32        and Benefit.
33
34
35
                 Pursuant to Local Bankruptcy Rule 2016, the services performed on behalf of the
36
37       Debtors have been divided into general categories of ‘tasks’ which are set forth in detail on
38
39       Exhibit A submitted concurrently herewith. These general categories of service, with the
40
41       amount of fees and hours of attorney time allocated to each, are as follows:
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43
44
                 Case Administration. Fees in this category relate to a number of different areas related
45
46       to the administration of SFSR’s bankruptcy case during the nearly one year period covered by
47
         this Application.

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 1               This includes but is not limited to time expended: reviewing the Settlement Agreement;
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 3       drafting the necessary pleadings such that approval of the Settlement Agreement could be
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 5
 6       considered by the Court on shortened time; participating in the first day hearings in the case;
 7
 8       editing and amending SFSR’s schedules 2; preparing SFSR for its Initial Debtor Interview and
 9
10       Meeting of Creditors and attending the same; reviewing, redacting and finalizing each of SFSR’s
11
12       monthly financial reports; responding to numerous creditor queries throughout the case;
13
14
15       preparing claims bar date and case management pleadings; preparing joint administration
16
17       pleadings; communicating throughout the case with third party counsel about over twenty
18
19       lawsuits pending against SFSR under the Longshore Act as well as in state court, about
20
21       insurance coverage, the scope of the stay, and providing information about the bankruptcy
22
23
24       process; and monitoring the Puglia bankruptcy case and responding as necessary (such as to
25
26       Puglia’s motion for approval of its disclosure statement, and to the motions to convert or
27
28       dismiss Puglia’s case).
29
30               Approximately $26,803.50 in fees and 96.6 hours of legal services are attributable to this
31
32
33       category.
34
35               Asset Analysis and Recovery. The small amount of fees in this category relate to the
36
37       drafting of 2004 exam pleadings intended to file to assist SFSR in better ascertaining the
38
39       amount of its claim against Puglia. After indicating its intent to file such pleadings, Puglia agreed
40
41
42       to voluntarily provide SFSR with the financial information it sought to the best of its ability so
43
44       filing such pleadings became unnecessary.
45
46
47        2
           Upon the request of the United States Trustee, TTLG wrote off its fees incurred preparing SFSR’s
          schedules on an emergency basis so that it would meet the disinterestedness standard imposed by existing
          Ninth Circuit case law.
          FINAL APPLICATION OF THE TRACY LAW GROUP
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 1               Approximately $650.00 in fees and 2.0 hours of legal services are attributable to this
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 3       category.
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 5
 6               Asset Disposition. The small amount of fees in this category relate to the sale and/or
 7
 8       other disposition of property of the estate. Specifically, they relate to time spent
 9
10       communicating with Commenda, the investment banker employed by Puglia, regarding its
11
12       efforts to sell Puglia.
13
14
15               Approximately $162.50 in fees and .5 hours of legal services are attributable to this
16
17       category.
18
19               Relief from Stay/ Adequate Protection. Fees in this category relate to issues involving
20
21       the automatic stay and adequate protection.
22
23
24               As mentioned above, post-petition, it was discovered that SFSR was involved in over 20
25
26       lawsuits. Some proceeding under the Longshore Act, and some proceeding under state law tort
27
28       theories. TTLG spent a great deal of time discussing how the automatic stay affected these
29
30       proceedings, both in terms of staying prosecution against SFSR and in terms of allowing SFSR
31
32
33       to continue to conduct discovery to defend itself. Some communications with these attorneys
34
35       were attributed to the ‘Case Management’ category but those communications more specifically
36
37       involving the automatic stay were attributed to this category instead. Fees in this category also
38
39       related to negotiating agreed stipulated orders granting certain plaintiffs relief from stay where
40
41
42       there was third party insurance coverage and SFSR would not be responsible for paying any
43
44       judgment ultimately awarded against it or legal fees incurred in defending such proceedings.
45
46               Approximately $4,550.00 in fees and 14.0 hours of legal services are attributable to this
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         category.

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 1              Fee Applications/ Objections. Fees in this category relate to preparing fee applications,
 2
 3       related documents, responding to objections to fee applications, and objecting to excessive fees
 4
 5
 6       of other professionals as appropriate.
 7
 8              This category of fees includes but is not limited to time expended: preparing a budget
 9
10       for TTLG’s expected fees to be incurred throughout the case, briefly reviewing the fee
11
12       applications of other professionals, preparing fee requests pursuant to the Knudsen order entered
13
14
15       in this case (Dkt. #345), and answering questions from the UCC regarding such requests.
16
17              Approximately $2,957.50 in fees and 9.1 hours of legal services are attributable to this
18
19       category.
20
21              Employment Application/ Objection. Fees in this category relate to employment
22
23
24       applications and objections thereto.
25
26              This category of fees includes but is not limited to time expended: drafting TTLG’s
27
28       employment application; briefly researching the ‘disinteredness’ standard of § 327 in the context
29
30       of emergency filings under existing Ninth Circuit jurisprudence; editing TTLG’s employment
31
32
33       application pursuant to certain changes requested by the United States Trustee; reviewing the
34
35       UCC’s employment applications for out-of-state counsel; drafting an objection to the proposed
36
37       terms of McCool Smith and CKR’s employment; responding to the UCC’s objection to SFSR’s
38
39       employment terms; preparing employment application to allow SFSR to employ an accountant
40
41
42       to prepare necessary tax returns; attending hearing on the employment terms of multiple
43
44       professionals; and preparing employment applications to allow SFSR to employ counsel to
45
46       defend it against certain tort lawsuits proceeding against it that were covered by SFSR’s
47
         insurance and/or indemnity policies.

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 1              Approximately $7,085.00 in fees and 21.8 hours of legal services are attributable to this
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 3       category.
 4
 5
 6              Financing/ Cash Collateral. The small amount of fees in this category relate to time that
 7
 8       TTLG expended reviewing Puglia’s cash collateral pleadings as SFSR was one of the larger
 9
10       unsecured creditors in Puglia’s case and as TTLG was a professional to be compensated from
11
12       the professional fund established by Puglia.
13
14
15              Approximately $292.50 in fees and .9 hours of legal services are attributable to this
16
17       category.
18
19              Claims Administration and Objections. The fees in this category relate to administering
20
21       and objecting to the claims against SFSR, as well as to time that TTLG expended reviewing
22
23
24       accounting information to better ascertain the amount of its claim against Puglia.
25
26              Approximately $3,932.50 in fees and 12.1 hours of legal services are attributable to this
27
28       category.
29
30              Plan and Disclosure Statement. The small amount of fees in this category relate to
31
32
33       reviewing Puglia’s disclosure statement and plan, preparing an objection to Puglia’s disclosure
34
35       statement, reviewing multiple objections thereto, communicating with Puglia’s counsel
36
37       regarding it’s sale efforts, communicating with outside counsel regarding the status of the case
38
39       and how plan approval may impact third party litigation, and participating in the hearing on
40
41
42       approval of Puglia’s disclosure statement.
43
44              Approximately $1,690.00 in fees and 5.2 hours of legal services are attributable to this
45
46       category.
47



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 1               Bankruptcy Litigation. Fees in this category relate to litigation issues that arose in
 2
 3       SFSR’s case.
 4
 5
 6               This category of fees includes but is not limited to time expended: reviewing the UCC
 7
 8       litigation counsel’s objection to the Settlement Agreement and stated intention to potentially
 9
10       continue litigating issues resolved therein; communicating with BAE regarding litigation against
11
12       SFSR; communications with outside counsel re; pending litigation of tort claims and claims
13
14
15       under the Longshore Act and payment of litigation fees by third parties 3; briefly researching the
16
17       prudence of initiating litigation to prosecute SFSR’s claim against Puglia and communicating
18
19       with Puglia’s counsel regarding the same; and communicating with SFSR regarding the
20
21       availability of records available to produce in on-going litigation and the need to possibly testify
22
23
24       in certain cases.
25
26               Approximately $4,680.00 in fees and 14.4 hours of legal services are attributable to this
27
28       category.
29
30               7.          Rates Charged. All of the services billed in connection with this matter were
31
32
33       billed at rates equal to TTLG’s normal hourly rates as follows:
34
35                   Name                                                      Hourly Rate
36
37                   J. Todd Tracy                                             $475
38                   Steven J. Reilly                                          $325
39                   Jamie McFarlane                                           $360
40
                     Meredith Tracy                                            $125
41
42
43
44        3
            As noted elsewhere, some of the fees that TTLG incurred communicating with SFSR’s counsel defending
45        it against the aforementioned tort lawsuits and lawsuits under the Longshore Act were attributed to the
46        ‘Case Management’ category, some were attributed to the ‘Relief from Stay/Adequate Protection’ category,
47        and some were attributed to the ‘Bankruptcy Litigation’ category. TTLG attempted to separate the fees
          expended into the appropriate category but many times the fees could have been attributed to multiple
          categories. TTLG used its best judgment in separately classifying them as set forth herein.
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 1
 2
 3          The normal hourly rates charged by TTLG are consistent with or less than other
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 5
 6    attorneys of equal experience in Seattle. No agreement or understanding exists between TTLG
 7
 8    and any other person for the sharing of compensation received or to be received for services
 9
10    rendered in, or in connection with this case.
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12          8.       Financial Condition of the Estate. TTLG is not aware of the financial
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14
15    condition of Puglia’s estate except that the Chapter 7 Trustee’s ‘Response and Limited
16
17    Objection to the Applications for Compensation Filed by CKR Law, LLP, DBS Law, Bush
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19    Kornfield LLP, Orse & Company, Devitt D. Barnett, and Larson Gross PLLC’s First and
20
21    Final Application for Compensation’ indicates that the Chapter 7 Trustee successfully
22
23
24    mediated a resolution of the Puglia estate’s claims against the former directors and officers of
25
26    Puglia, and expects to receive $855,000 in settlement of these claims, subject to bankruptcy
27
28    approval of such resolution.
29
30          9.       Status and Progress of Case and Estimated Future Fees and Expenses.
31
32
33          On March 20, 2019, David Stapleton was appointed as Chapter 11 Trustee in Puglia’s
34
35    case. Dkt. # 587. On March 28, 2019,Puglia’s bankruptcy case was converted to chapter 7, at
36
37    which point it was no longer jointly administered with SFSR’s chapter 11 case. Dkt. # 625. On
38
39    March 28, 2019, SFSR’s case was also converted to chapter 7. Case No. 18-41350, Dkt. #72.
40
41
42    The following day, Brian Budsberg was appointed Chapter 7 Trustee in SFSR’s bankruptcy
43
44    case. Case No. 18-41350, Dkt. #71. Accordingly, TTLG does not have knowledge of the
45
46    status and progress of Puglia or SFSR’s respective bankruptcy cases.
47



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 1          10.       Conclusion. The Application, as discussed above, requests reasonable
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 3   compensation for actual and necessary services rendered by TTLG. In our independent
 4
 5
 6   judgment, the fees and costs are fair. The rates charged are reasonable for the level of service
 7
 8   provided. The application is based on the nature, the extent, and the value of the services
 9
10   performed, time spent on such services, and the cost of comparable services other than in a
11
12   case under Title 11 of the United States Code. The request for reimbursement of costs is for
13
14
15   actual and necessary expenses that were incurred for the benefit of Puglia’s bankruptcy estate as
16
17   the Settlement Agreement mandated that SFSR file its own separate chapter 11 case, and
18
19   approval of the Settlement Agreement was the only means by which Puglia could realistically
20
21   seek to reorganize or be liquidated under chapter 11. Therefore, pursuant to 11 U.S.C. § 330,
22
23
24   the application for compensation in the amount of $52,803.50, and reimbursement of costs in
25
26   the amount of $1,411.90, for a total amount of $54,215.40, should be approved.
27
28            DATED this 8th day of January 2020.
29
30                                                    THE
                                                            TRACY LAW GROUP PLLC
31
32
33
34                                                    By     /s/ Steven J. Reilly
35                                                           J. Todd Tracy, WSBA #17342
36                                                           Steven J. Reilly, WSBA #44306
37                                                    Attorneys for San Francisco Ship Repair, Inc.
38
39
40
41
42                                 DECLARATION IN SUPPORT
43
44            I am an attorney at the Tracy Law Group PLLC and am the primary attorney
45
46    responsible for the representation of San Francisco Ship Repair, Inc. in the above-captioned,
47
      previously jointly administered bankruptcy proceedings. I have personal knowledge of the

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 1    facts stated herein, and am competent to testify to them. I make this declaration in
 2
 3    conformance with applicable sections of the Bankruptcy Code and Rules, as well as in
 4
 5
 6    accordance with LBR 2016.
 7
 8           I declare under penalty of perjury that to the best of my knowledge the foregoing is
 9
10    true and correct.
11
12           Dated this 8th day of January, 2020.
13
14
15
16                                                           /s/_Steven J. Reilly_________
17                                                           Steven J. Reilly
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